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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                           JACKSONVILLE DIVISION

QINARD LAMAR COLLINS,

            Petitioner,

v.                                    CASE NO.       3:14-cv-47-J-32PDB

SECRETARY, DEPARTMENT
OF CORRECTIONS, et al.,

            Respondents.

__________________________/

                           RESPONSE TO PETITION

       Respondents, Secretary Department of Corrections, et al.,

by and through the undersigned counsel, pursuant to Rules 3.01

and 4.14, Rules of the United States District Court for the

Middle    District    of   Florida,     and    Rules     4,    5    and   11,   Rules

Governing    Section    2254    Cases   in     the    United       States   District

Courts, in response to the instant petition for writ of habeas

corpus, filed on or about January 13, 2014, and in response to

this     court’s   order   to   respond       rendered    February        26,   2014,

request this honorable court to deny all relief for the reasons

set forth below.

                     PROCEDURAL AND FACTUAL STATEMENT

       After the April 2, 2001, death of his own child who was less

than a year old, Petitioner was charged by indictment with one

count of aggravated child abuse and one count of first degree
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murder.           (App. A)1 The State filed its Notice of Intent to Seek

the Death Penalty.              (App. B)         On August 8, 2003, Petitioner

entered a negotiated plea of nolo contendere to second degree

murder.           (App. F, I) The State and the defense agreed to a

sentence between twenty and thirty years.                    (App. I3) As part of

the plea colloquy, Petitioner was advised that he was giving up

his right to appeal the question of whether he committed the

crime.       (App. I7)

      On October 10, 2003, Petitioner appeared for sentencing.

(App. J) The child’s mother testified at sentencing that she had

previously          witnessed   Petitioner       restrain    the    baby’s      hands   by

taping them to his car-seat so that the baby would not pull out

a chest tube.2 (App. J20-21)               She had also witnessed Petitioner

crush a puppy’s skull with a hammer and state, “If your boy

don’t straighten up and start getting healthy and strong, I’ll

do   his         ass   too.”    (App.     J21)    The   State      read   the    medical

examiner’s report into evidence at sentencing.                      The report found

evidence of multiple abusive injuries over varying periods of

time.        (App. J26) There were bite marks on the baby’s cheeks and

elbow,       scabbed     abrasions   on    the     nose,    ears,    legs    and   back,



        1
            (App. ) refers to the appendix filed under separate cover.
             2
                 The baby was born prematurely and had several medical
issues.

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bruising on the gums and lips,                  and also a linear area of recent

bruising over the buttocks consistent with some type of blunt

trauma.       (App. J26-27) Internally, there was bruising to the

underneath      of    the     scalp    in   at       least     eight   places,    massive

swelling of the brain and hemorrhage into the membranes covering

the brain as well as external bleeding into the optic nerve

sheath.       (App. J27) In addition to finding Shaken Baby Syndrome,

the medical examiner also found Battered Child Syndrome due to

the bruising and abrasions which were both recent and several

days old.       (App. J27-28) In final argument, the defense stated

they were not disputing what occurred, only that it was not

intentional.         (App. J29)

     Petitioner        was     sentenced        to    thirty     years   Department     of

Corrections.          (App.    G,     J30-31)          Petitioner      appealed   to    the

Florida Fifth District Court of Appeal and was represented by

the public defender’s office who filed an Anders3 brief on his

behalf unable to argue that any reversible error had occurred.

(App.   K)     Without      requiring       a       response    from   the    State,    the

Florida Fifth District Court of Appeal per curiam affirmed on

April 27, 2004.         (App. L) Collins v. State, 873 So. 2d 442 (Fla.

5th DCA 2004).        Mandate was issued on May 14, 2004.                    (App. M)


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        Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18
L.Ed.2d 493 (1967).

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     On    April       27,   2006,    Petitioner             filed    a    Florida      Rule    of

Criminal       Procedure      3.850        Motion       For       Postconviction             Relief

raising    three        issues:       1)     newly           discovered         evidence,       2)

ineffective assistance of counsel for failure to investigate and

advise    of    defense      that     a     vaccine          caused       internal      injuries

commonly       ruled    to    have    occurred          from       child        abuse     and    3)

fundamental error in that the trial court failed to obtain a

factual basis for the plea at the plea colloquy.                                  (App. N) The

newly discovered          evidence        alleged       in    claim       one    was    based    on

discovering on April 4, 2004, by reading medical journals and/or

documentaries written by Dr. Harold Buttram which opined that

medical vaccinations administered to infants at birth had been

linked     to     causing        infant      mortality            with         injuries       often

mischaracterized as resulting from child abuse.                                  (App. N6A-6B)

Petitioner       further      alleged         that,          “some        of     the    symptoms

identified in Dr. Buttram’s medical report that were found to be

caused    by    an     adverse     vaccine     reaction           were     intracranial         and

ocular hemorrhage and severe brain swelling.                                    These injuries

were of the same type suffered by the victim Qinard Collins Jr.

as found by Dr. Terrance Steiner’s autopsy.”                          (App. N6-B)

     The    postconviction           motion       was    summarily         denied       by    order

dated May 25, 2006, and was attached with the medical examiner’s

report.        (App.    O)   The     court    found          no   prejudice       because       the


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medical examiner’s findings were not only based on Shaken Baby

Syndrome but also Battered Child Syndrome consisting of both

older and more recent evidence of trauma including bruising to

the   face     and   abrasions,   bruises        consistent   with   bite    marks,

bruising on lips and gums, scabbed abrasions on the nose and

ears and other areas of abrasions and bruising about the body.

(App.    O3)    Petitioner   appealed       to    the   Florida   Fifth    District

Court of Appeal which per curiam affirmed without requiring a

response from the State on September 5, 2006.                        (App. P, S)

Collins v. State, 939 So. 2d 1076 (Fla. 5th DCA 2006).                      Mandate

was issued on November 1, 2006.             (App. V)

        Next, Petitioner filed a second Florida Rule of Criminal

Procedure 3.850 Motion for Postconviction Relief on January 5,

2011, which presented three grounds: 1) violation of due process

based on newly discovered evidence, 2) ineffective assistance of

counsel based on failure to investigate the State’s evidence and

render competent advice and 3) actual innocence.                     (App. W) The

motion was summarily dismissed as untimely on January 6, 2012,

finding that Petitioner had failed to allege that the medical

records he received in May 2009, could not have been ascertained

by the exercise of due diligence prior to that time.                      (App. BB)

The court also found that even if the motion was timely, it had

no merit because Petitioner had admitted that his trial counsel


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knew about the medical records at the time he entered his plea

and that such records existed at the time he entered his plea,

therefore, defense counsel could have known of such studies by

the use of diligence and Petitioner would not be entitled to a

new trial based on newly discovered evidence.           (App. BB2)

     Petitioner appealed to the Florida Fifth District Court of

Appeal which per curiam affirmed on February 12, 2013, without

requiring a response from the State.            (App. EE, HH) Collins v.

State, 108 So. 3d 1107 (Fla. 5th DCA 2013).             Mandate was issued

on March 8, 2013.     (App. II)

     The instant federal habeas petition was filed on January 13,

2014, raising one issue of actual innocence.                 On February 26,

2014, this Court ordered the instant response.

                               PRESIDING JUDGE

     Neither    the   United    States    District   Court    Judge   nor   the

United States Magistrate Judge assigned to this case have been

involved in any of Petitioner’s state court proceedings.

                                  RECORDS

     Respondents have included the state records in the appendix

mailed under separate cover.

                          EVIDENTIARY HEARING

     No    evidentiary      hearing       was    held    on     Petitioner’s

postconviction motion.         He is not entitled to an evidentiary

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hearing on the instant federal habeas petition claim.                                Smith v.

Singletary,        170    F.3d    1051,       1053-54       (11th    Cir.    1999).         The

pertinent facts of the case are fully developed in the instant

record.        Cave      v.   Singletary,      971    F.2d     1513,     1516      (11th   Cir.

1992).        No   additional       evidentiary            proceedings       are    required.

High     v.    Head,     209     F.3d   1257,       1263     (11th    Cir.    2000)(citing

McCleskey v. Zant, 499 U.S. 467, 494 (1991)), cert. denied, 532

U.S. 909 (2001).

                              ONE-YEAR LIMITATION PERIOD

       On     April    24,     1996,    the    President        signed       into    law   the

Antiterrorism          and     Effective           Death     Penalty        Act     of     1996

(hereinafter AEDPA).             This law amended 28 U.S.C. §2244 by adding

the following new subsection:

       (d)(1)   A 1-year period of limitation shall apply to
       an application for a writ of habeas corpus by a person
       in custody pursuant to the judgement of a State court.
       The limitation period shall run from the latest of --

                    (A) the date on which the judgment of
               conviction became final by the conclusion of
               direct review or the expiration of the time
               for seeking such review;

                    (B) the date on which the impediment to
               filing an application created by State
               action in violation of the Constitution or
               laws of the United States is removed, if the
               applicant was prevented from filing such
               State action;

                    (C) the     date    on    which    the
               constitutional right asserted was initially

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           recognized by the Supreme Court, if the
           right has been newly recognized by the
           Supreme   Court   and   made   retroactively
           applicable to cases on collateral review; or

                (D) the date on which the factual
           predicate of the claim or claims presented
           could have been discovered through the
           exercise of due diligence.

       (2) The time during which a properly filed application
       for State post-conviction or other collateral review
       with respect to the pertinent judgment or claim is
       pending shall not be counted toward any period of
       limitation under this subsection.

28 U.S.C. §2244(d)(1).

       Petitioner’s convictions and sentences became final on July

26, 2004, which was 90 days after his judgments and sentences

were affirmed on direct appeal.               Clay v. United States, 123

S.Ct. 1072 (2003)         Petitioner had one year to file his federal

petition   in   this     Court,    unless   any   periods   of    time   may   be

excluded   from    the    one-year   limitation    period    pursuant     to   28

U.S.C. section 2244(d)(2).           Under section 2244(d)(2), the one-

year period could be tolled during the pendency of a properly

filed state post conviction proceeding. By the time Petitioner

filed his first rule 3.850 motion on April 27, 2006, his one

year   period     had    already   expired.       It   is   the   Respondent’s

position that the instant federal habeas petition is untimely

under AEDPA and is therefore subject to dismissal under the time

limitation of section 2244(d)(1).


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                THE INSTANT PETITION SHOULD BE DISMISSED
                        BECAUSE IT IS UNTIMELY.

        Respondents request that the instant petition for writ of

habeas corpus be dismissed with prejudice because the petition

was untimely filed as argued above.                   Dismissal is appropriate

when    it   plainly    appears   from    the   face    of   the       petition   that

Petitioner is entitled to no relief.                28 U.S.C. §2254.

        Once the AEDPA’s statute of limitations is triggered, the

limitations period can be tolled in two ways: through statutory

tolling or equitable tolling.             Brown v. Barrow, 512 F. 3d 1304

(11th    Cir.   2008);    28    U.S.C.    §2244(d)(2).           The    doctrine    of

equitable tolling applies when a movant untimely files because

of extraordinary circumstances that are both beyond his control

and unavoidable even with diligence.                  Knight v. Schofield, 292

F.3d    709,    711    (11th   Cir.    2002).        Equitable     tolling    is    an

extraordinary         remedy   which     is   typically      applied      sparingly.

Steed v. Head, 219 F.3d 1298, 1300 (11th Cir. 2000).                      To satisfy

the extraordinary circumstances prong, a defendant must show a

causal       connection        between        the      alleged         extraordinary

circumstances and the late filing of the petition.                        San Martin

v. McNeil, 2011 WL 620990 (11th Cir. Feb. 23, 2011).                       An inmate

bears a strong burden to show specific facts to support his

claim of extraordinary circumstances and due diligence.                           Akins


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v. United States, 204 F.3d 1086, 1089-90 (11th Cir. 2000).

      Petitioner alleges that the AEDPA’s time limitation does not

apply to him because he is actually innocent.                    As part of this

actual      innocence    claim,    Petitioner          argues   newly    discovered

evidence of research and studies which demonstrate that Shaken

Baby Syndrome is no longer a valid or scientifically/medically

accepted theory.        Respondents disagree.

      The    AEDPA   gave   Petitioner      one   year     to   file    his   federal

habeas petition from the date his judgment became final, which

Respondents contend is July 26, 2004, as argued above.                        If the

petition alleges newly discovered evidence, the filing deadline

is one year from “the date on which the factual predicate of the

claim....could       have   been   discovered      through...due        diligence.”

28 U.S.C. §2244(d)(1)(D).          It is quite clear that Petitioner was

well aware of Dr. Buttram’s theory regarding an adverse reaction

to a childhood vaccine for being mis-diagnosed as Shaken Baby

Syndrome dating back to April 27, 2006, when he filed his rule

3.850 motion.        Claims one and two of his state postconviction

motion   filed    on    April   27,   2006,   specifically        addressed       both

“newly   discovered      evidence”    based       on    Buttram’s      findings    and

ineffective assistance of counsel for failure to investigate and

advise on the defense that the vaccine could have caused the

internal injuries commonly ruled to have occurred from child


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abuse.     (App. N) Petitioner again presented the same claim in

terms     of    a     due    process       violation,        again     based    on    newly

discovered evidence and ineffective assistance of counsel for

failure to investigate and this time the additional claim of

actual    innocence         in    his    second     rule     3.850    motion    filed    on

January    5,       2011.        (App.    W)   This   is     significant       because   it

impacts    his      claim    of    proving     actual      innocence.         The    instant

petition was not filed until January 13, 2014, some nine and a

half years        after     his    conviction       became    final     and    just   under

eight years after he first claimed newly discovered evidence in

his first rule 3.850.               At the very latest, Petitioner admitted

that he became fully aware of all the underlying facts that

support the instant claims when he received a pathologist report

on September 27, 2010.                  (App. X5) Even if this Court uses the

September 27, 2010, date as the starting point for his newly

discovered evidence claim, he still waited over three and a half

years before filing the instant petition on January 13, 2014.

Petitioner’s argument would be much more credible had he filed

the     instant      petition       by     September       26,   2011.         Petitioner

exercised no due diligence.

      In McQuiggin v. Perkins, _U.S._, 133 S.Ct. 1924, 185 L.Ed.2d

1019 (2013), the United States Supreme Court held that a federal

habeas    court,      faced       with    an   actual      innocence    gateway       claim,


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should count unjustifiable delay on a habeas petitioner’s part,

not    as   an    absolute      barrier    to   relief,    but   as   a   factor   in

determining whether actual innocence has been reliably shown.

A petitioner “does not meet the threshold requirement unless he

persuades the district court that, in light of the new evidence,

no juror, acting reasonably, would have voted to find him guilty

beyond a reasonable doubt.”               Schlup v. Delo, 513 U.S. 298, 115

S.Ct. 851, 130 L.Ed.2d 808 (1995).

       There are several factors in the instant case which do not

support Petitioner’s actual innocence claim.                     First, it should

be considered that Petitioner did not have a trial, but instead

entered a plea to second degree murder, specifically giving up

his right to appeal the question of whether he committed the

crime.      (App. I7) Second, defense counsel stated at sentencing

that they did not dispute what occurred, only whether it was an

intentional act.          (App. J29) Third, Shaken Baby Syndrome was not

the only cause of death found by the medical examiner.                         There

were not only the internal injuries to support the finding of

SBS,    but      also    many   external    injuries      in   varying    states    of

healing     which       indicated   an    on-going   pattern     of   abuse.       The

medical examiner made a finding of                Battered Child Syndrome due

to the bruising and abrasions which were both recent and several

days old.         (App. J27-28) The State read the medical examiner’s


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report into evidence at sentencing.             The report found evidence

of    multiple    abusive   injuries    over   varying    periods    of   time.

(App. J26) There were bite marks on the baby’s cheeks and elbow,

scabbed abrasions on the nose, ears, legs and back, bruising on

the gums and lips,          and also a linear area of recent bruising

over the buttocks consistent with some type of blunt trauma.

(App. J26-27)

       In addition to the medical examiner’s report, the child’s

mother testified at sentencing that she had previously witnessed

Petitioner restrain the baby’s hands by taping them to his car-

seat so that the baby would not pull out a chest tube. (App.

J20-21)    She had also witnessed Petitioner crush a puppy’s skull

with a hammer and state, “If your boy don’t straighten up and

start getting healthy and strong, I’ll do his ass too.”                   (App.

J21)

       Based on the above, Petitioner’s actual innocence claim is

not supported by the totality of the circumstances.                 He has not

presented new evidence that shows it more likely than not that

no reasonable juror would have convicted him.                Gore v. Crews,

720 F.3d 811 (11th Cir. 2013).         He did not exercise due diligence

once he discovered the claims.              Actual innocence has not been

reliably shown pursuant to McQuiggin, supra, and Petitioner is

not    entitled    to   equitable   tolling    of   the   AEDPA   statute    of


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limitations period.

       Petitioner has failed to carry his burden in the instant

case   and   has   demonstrated    no   causal      connection     between     the

“extraordinary     circumstances”       and   the     late    filing      of   the

petition.     He is entitled to no relief.



                                CONCLUSION

       WHEREFORE, based upon the above arguments and authorities,

Respondents    respectfully    request    this      court    to   grant   summary

judgment and dismiss the petition for writ of habeas corpus with

prejudice and/or to deny the petition in all respects.


                                                 Respectfully submitted,

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                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on May 27, 2014, I electronically

filed the foregoing Response with the Clerk of the Court by

using the CM/ECF system.        I further certify that I furnished a

copy of the foregoing document and notice of electronic filing

via email to: Michael Ufferman, Michael Ufferman Law Firm, 2022-

1 Raymond Diehl Road, Tallahassee, FL, 32308, this 27th day of

May, 2014.



                                               s/ Robin A. Compton
                                               Robin A. Compton
                                               Assistant Attorney General




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